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Counsel for Defendants

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF ALASKA

GWICH’IN STEERING COMMITTEE, et
al.,
               Plaintiffs,
     v.

DEBRA HAALAND, in her official capacity
as Secretary of the United States Department     Case No. 3:20-cv-00204-SLG
of the Interior, et al.,

                    Defendants,
   and

NORTH SLOPE BOROUGH, et al.,

                    Intervenor-Defendants.




Gwich’in Steering Committee v. Haaland                 Case No. 3:20-cv-00204-SLG
DEFS.’ STATUS REPORT                                                            1

     Case 3:20-cv-00204-SLG       Document 108    Filed 11/06/24   Page 1 of 3
            DEFENDANTS’ STATUS REPORT ON ISSUANCE OF
     FINAL SUPPLEMENTAL ENVIRONMENTAL IMPACT STATEMENT

       This case is stayed, and in accordance with the Court’s order providing that further

status reports shall reflect “timeframes of key milestones in the process of conducting a

new environmental review and issuing a new record of decision addressing the Coastal

Plain Oil and Gas Leasing Program at issue in this litigation,” Defendants hereby provide

this update on the status of the Final Supplemental Environmental Impact Statement

(“Final SEIS”). Order dated Sept. 13, 2021, at 1, ECF No. 86; see also Text Order, ECF

No. 107.

       Defendants advise that the Final SEIS for the Program was issued on November 6,

2024, when it was posted to the Bureau of Land Management’s National NEPA Register.

See https://eplanning.blm.gov/eplanning-ui/project/2015144/510. Defendants further

advise that a Notice of Availability for the Final SEIS is expected to publish in the

Federal Register on November 8, 2024, initiating a 30-day period, pursuant to 40 C.F.R.

§ 1506.10(b)(2), before a Record of Decision may issue. As Defendants have previously

advised, a Record of Decision will subsequently issue in accordance with these timelines

and with sufficient time for compliance with deadlines in Section 20001 of the 2017 Tax

Cuts and Jobs Act.

       Defendants will file an additional status report upon the issuance of the Record of

Decision, and will otherwise provide notice to counsel as indicated by the parties’ prior

status reports.




Gwich’in Steering Committee v. Haaland                       Case No. 3:20-cv-00204-SLG
DEFS.’ STATUS REPORT                                                                  2

      Case 3:20-cv-00204-SLG        Document 108       Filed 11/06/24     Page 2 of 3
Respectfully submitted,

DATED: November 6, 2024.                 TODD KIM
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                                         /s/ Paul A. Turcke
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                           CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2024, a copy of the foregoing was served by
electronic means on all counsel of record by the Court’s CM/ECF system.

                                  /s/ Paul A. Turcke
                                      Paul A. Turcke

Gwich’in Steering Committee v. Haaland                      Case No. 3:20-cv-00204-SLG
DEFS.’ STATUS REPORT                                                                 3

      Case 3:20-cv-00204-SLG       Document 108        Filed 11/06/24   Page 3 of 3
